               Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 1 of 60



               UNITED STATES DISTRICT COURT DISTRICT OF CONNECTICUT

Andrew Chien: Pro Se Plaintiff                                                          CIVIL ACTION NO:
-against-
Defendants:                                                                                July 10, 2017
Future Fintech Group Inc.
HongKe Xue                                                                                 Jury-trial required


                                                                COMPLAINT

                                                                  CONTENTS                                                                         Pages

Authorities                                                                                                                                            2

     I .       Summary of Action ................................................................ ,...........................................         4

     II. Parties                                                                                                                                       5

     III. Jurisdiction and Venue                                                                                                                       6

     IV. Brief of The Case                                                                                                                             7

 Part A. Chien was Skypeople's Public Fiqure for Going
         US Public Listing............................................................................................................                 7

 Part B. Deceiving and Cheating                                             Cla~           In Shaanxi Supreme Court.16

 Part C. Defendants' Tort in Executing the Contract..............................                                                                     20

 Part D. The Lawsuits between Chien and Skypeople....................................                                                                 23

           V. Standard and Argument                                                                                                                   26

 Part A. Defendants Consistently Engaged Deceiving and
         Cheating ..............................................................................................................................      26

 Part B. Defendants Retaliated Chien for Unjust Enrichment ......                                                                                     28

 Part C. Extortion                                                                                                                                    29

 Part D. Retaliation                                                                                                                                  30

 Part E. Racketeering ("RICO") ..........................................................................................                             31

 Part F. Civil Right to Sue Tort Relative to Contract Fraud..                                                                                         34
                                                                               1
                Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 2 of 60




           VI. Causes of Action                                     ........ " .............,...   on..,.o . . . . . . . . . . . . . . . . . . . . . ................................................   36

Count 1.                  Extortion Against both Defendants ......................................................... 36

Count 2. Falsified Statements and Concealed Material
         Information ........................................................................................................................... 37

Count 3. Conspiracy Against both Defendants ............................................... ....... 38

Count 4. Racketeering Acts Against both Defendants ......:.......................... 39

Count 5. Due Process Violation Against both Defendants ........................ 40

Count 6. Unjust Enrichments Against both Defendants ........................... . 40

Count 7. Tort in Securities Law Violation ............................................................ 40

          VII. Relief ....................................................................................................................................... 41

                                                                      Authorities

                                                                              Cases

Insurance Co. v. Morse,                                       87 U.S.                 445(1874) .............................................. 34,35

Wang Xiaoning v. Yahoo (2007) ..._. ........................................................................... ................. 36

                                                                   Constitution

Amen XIV ....................-................................................................................................................................ 31, 4 0

                                                                         U.S Codes

18USC §8 7 5 (b)                    Extortion .................................................................................................. .                                           30,37

18USC 1001 False Statements                                                 .............................." ................................................... ............. 41

18USC §1341 & §1343: Mail& Wire Fraud ............................................................... 32, 39

18USC §1350 False certificate to SEC .................................................................. 40,41

18USC §1513 (e) Retaliation .................... ,............ ,.............................................................. 31,39

18USC §1623 False declarations .............................................................. " .................... 28,37

                                                                                      2
             Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 3 of 60



18USC §1951 Interference of interstate cormnerce .................................... 32, 39

18USC §1961 Definition of Racketeering .......................................... 31, 32, 33,39

18USC §1962 Prohibited Acts...................................................................................................                                32

18USC §1964 (c) Triple damage for civil remedy ...............,................... ..........                                                                 41

18USC §1965 (a) Venue for RICO ..... .................... ............................................................                                           7

28USC §1332 (a) (2)                     of diversity action ............................................................ 6,23

28USC § 1350 - Alien's action for tort ......................... ................................... 6, 36

42USC §1981               &   §1983 ................................................................................ ........................................... 34

                                          Connecticut General Statutes


§34-208 Winding up of LLC ......................................... ................................................................... 33

§52-595 -            Fraudulent concealment of cause of action ........................... 34

§52-604. Definition of foreign judgment ..........................................................                                                            35

§53a-119 -Larceny defined (5)                                              Extortion ...................................................... 30,37




                                                                              3
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 4 of 60



                             COMPLAINT

    Plaintiff Andrew Chien ("Chien"), appeared as pro se, files

the Complaint following the facts and belief to allege

extortion, tort in both China and US, and acts of Racketeer

Influenced and Corrupt Organization ("RICO"), Alien's action for

tort, perjury and conspiracy, committed by defendants Future

Fintech Group Inc., formerly (before June 6, 2017) named as

Skypeople Fruit Juice Inc ("Skypeople")       (Note: since all

relevant events were happened before June 2017, therefore in the

complaint, the name of Skypeople was used), a corporation

registered in Florida with Chinese operation, and Hongke Xue

("Mr. Xue"), CEO of Skypeople. Both defendants, for unjust

enrichment and retaliating Chien, through fraud made in Chinese

Courts, perjured a story, abused due process, then obtained a

wrong order in 2015   (Attached), which was developed from

previous conspiracy to escape service payment to Chien in signed

Contract of "Service for Public Listing" ("the Contract") in

2006. This suit is the countersuit and cross-suit, ignited by

the Chinese act of tort, conspired with Skypeople.

                      I. Summary of the Action

    1. On May 23, 2015, Skypeople with Mr. Xue, under absent of

Chien, developed fabricated story, cheat, and deceiving, in

Shaanxi Supreme People's Court, China, then obtained a judgment

                                    4
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 5 of 60



against USChina Channel LLC ("USChina")       (a dissolved LLC of

Chien's individual owned) and Chien for judgment debt of 253,400

Chinese yuan (about $37,315), with penalty of double interests

(P. 10 of Attached 1). Currently, Chien was default in payment.

    This judgment has several frauds,      first it was secret

without notice to Chien for trial or notice of judgment.

Seco~dly,   it sued a non-existing entity USChina, with real

target of Chien. It became Chien's personal liability.

    2. It is well known that Chinese court, at any time after

the judgment credit effective, will issue coerced measure

against unpaid judgment debtor, including indefinitely

incarceration plus to force doing hard labor, in China.

Therefore, Chien suffered losing the freedom to travel to China,

and losing his business, and property value, damaged reputation,

and losing physical visit or reunion with his Chinese relatives,

friends, and social contacts etc.

    3. Among the money award, absolutely majority (240,000 yuan)

was eventually paid for Mr. Xue personally through receiver of

Skypeople. Therefore, Mr. Xue is the major beneficiary of the

unjust enrichment with purpose to retaliate Chien.

                       II. Parties

    4. Plaintiff: Andrew Chien, a resident of Connecticut, 665

Ellsworth Avenue, New Haven, CT 06511.

                                     5
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 6 of 60




    5. Defendant: Future Fintech Group Inc., formerly named as

Skypeople Fruit Juice Inc.     ("Skypeople"), a Florida company. The

registered agency is CT Corporation System, 1200 South Pine

Island Road, Plantation, FL 33324, which has branch in CT with

address: CT Corporation System, 67 Burnside Ave, East Hartford,

Connecticut 06108-3408. Skypeople also has its own mailing

address at: 135-27 38th Ave, Suite 105, Flushing, NY 11354.

Skypeople has business activities in both US (with a business

subsidiary locates in California, and agencies in New York

etc.,), and China, with headquarter locates at 16F National

Development Bank Tower, No.2 Gaoxin 1st Road, Xi'an, Shaanxi

710075.

    6. Defendant: Hongke Xue ("Mr. Xue"), Chairman and CEO of

Skypeople. Mr. Xue can be reached at Skypeople's address. Mr.

Xue owned personal properties in US, including cash, and stock

options, and shares of Skypeople.

                  III. Jurisdiction and Venue

    7. This Court has both subject and personal jurisdictions

over this case due to "28USC §1332(a) (2)" of diversity action

and Plaintiff seeking monetary damages in excess of $75,000

arising out of this dispute.

    8. (a)This Court has both subject and personal jurisdictions

over this case due to "28USC § 1350 -Alien's action for tort",

                                    6
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 7 of 60




because "[t]he district courts shall have original jurisdiction

of any civil action by an alien for a tort only ..... ".      The case

is the tort that defendant Mr. Xue manipulated operation of

Skypeople (China), a fully owned subsidiary of Skypeople (US),

to initiate tort and racketeering in China, then caused the

property and reputation damage of Plaintiff Chien, a US citizen.

    (b). This Court has both subject and personal jurisdictions

over this case due to "18USC §1965(a)" from a civil RICO claim.

Both Defendants have minimum contact in Connecticut to meet the

special jurisdiction requirement as specified in "§33-929(f)" of

Connecticut General Statutes.

                      IV. Brief of the Case

    Part A. Chien was Skypeople's Public Figure for Going
                     US Public Listing

    9. Although China entered economy reform for past three

decades, but the period of created most wealth people was in

past one decade. Due to the data of Gross National Income per

capita ("GNI") developed by World Bank, China has GNI $930 in

year 2000, and $1,750 in 2005, and $7,880 in 2015. That is: from

year 2000 to 2005, it increased 88%, while from 2005 to 2015, it

increased 388 %. But the GNI of US was stagnant.

    Due to article of Time on June 10, 2014 by Hannah Gldberg,

China recorded 2,378,000 millionaires in 2013, a nearly 50%

increase in the country's private financial wealth, which
                                    7
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 8 of 60




includes bank deposits, securities and pension funds but

excludes luxury goods and real estate.

     Due to Hurun Report on Feb.24, 2016, China had 568

billionaires versus the United States' 535, giving it the

largest population of billionaires in the world. Hurun said the

main source of wealth for China's billionaires is real estate,

producing 117 billionaires. Manufacturing created 94 of their

billionaires, while technology created 68.

    In past five years, the price of real estate in China has

big increase, which created tens of millions of peoples having

assets value over $1 million, but also created significant

inflation of the land price of the both cities, and countries.

    From the whole picture of how rich people emerged from

Chinese economy, it will help to understand that Mr. Xue created

his own wealth by illegally taking advantage of Chien in running

the procedure of making Skypeople as a US public traded company,

for the purpose to inject big capital into Skypeople by

investors in both US and China.

     10. Before the economy reform of China, the ownership of

business, or farm lands was either the governmental or

collective. People had small saving for basic life. Therefore,

the first generation of bosses in China, had to overcome the big

barrier of how to obtain the first capital collectively from

                                    8
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 9 of 60



many privates, then to buy significantly depressed assets from

the government. One of the solutions was to organize share

ownership companies in China, which was new concept of China

economy reform, lacked regulation, and considering illegal by

some officers, no stock market for the public trading of the

shares of the small capital company such as Skypeople in 2006.

     11. Defendant Hongke Xue, together with his senior brother

Yongke Xue, established and controlled operation of Skypeople

with former name as Tianren Organic Food Co., Ltd ("Tianren")

before 2008. Hongke Xue and Yongke Xue alternatively took the

position of Chairman and CEO of Skypeople, or owned a control

share position in Skypeople by issuing shares to themselves or

taking other capital exchange, while most cash inflow of capital

was from outside investors. In SEC filings of reverse merger

between Skypeople with Entech dated February 28, 2008, Skypeople

listed Hongke Xue as biggest shareholder, representing 50% of

vote rights, and Yongke Xue as CEO. In recently 10-K filing for

year 2016, it listed Hongke Xue as Chairman and CEO, and Yongke

Xue as biggest shareholder, owned about 50% of shares. Hongke

Xue with his brother built their wealth at the acquisition and

sale of the shares and other assets of Skypeople.

    12. Chien has been a financial consultant, and was the sole

owner of dissolved USChina Channel LLC ("USChina") with business

                                    9
     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 10 of 60




to help Chinese private companies going into US public listing.

    As set forth below, on August 28, 2006, USChina at plaintiff

Chien, entered into a binding and enforceable agreement with

Tianren (later changing name as Skypeople), represented by

defendant, the purpose of which was for Chien to provide

guidance to Mr. Xue concerning the process of a reverse merger,

thereby allowing Tianren, a private company in China, to become

a publicly traded company in the United States. Defendant Mr.

Xue, after contacted several financial consultants, finally

selected Chien because Chien supplied service with good quality

at competitive price. Mr. Xue wanted to get private financing in

China first, to pay costs of going US Public listing, which

could generate wide interests from China investors.

     13. Pursuant to the Contract, USChina agreed, among other

things, to help Tianren locate a "listed or to be listed" shell

company in the U.S., which would in turn acquire Tianren, and

thus enable Tianren to become a publicly traded company in the

U.S. Specifically, USChina agreed to locate a suitable shell

company listed or to be listed on the Over-the-Counter Bulletin

Board ("OTCBB") in the United States, and to accomplish a

"Letter Of Intention" ("LOI")for merger, between that company

and Tianren, on or before September 8, 2006, in order to allow

Tianren to notify potential investors of its progress toward a

                                   10
     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 11 of 60




successful reverse merger and allay investor concern surrounding

forthcoming regulatory changes in China, which would increase

scrutiny over the acquisition of Chinese companies by foreign

entities, and which were scheduled to take effect after

September 8, 2006.   In turn, Tianren was obligated to make

certain payments to USChina in accordance with a payment

schedule, and was obligated to distribute to USChina 2% of all

outstanding shares upon its completion of public listing in the

U.S. Following execution of the Contract, Tianren made the

required initial payment of $30,000 and thereafter USChina

performed its part of the agreement, taking the necessary steps

to help Tianren to obtain some guarantee to carry out a reverse

merger, including securing a suitable company for a reverse

merger. Specifically, USChina secured for Tianren an OTCBB shell

company represented by Alliance Financial Partners Inc.

("Alliance") and arranged for "LOI" to be executed on September

7, 2006, between Alliance and Tianren, for the purpose of

engaging in a reverse merger, whereby the OTCBB company

represented by Alliance would acquire all of the issued and

outstanding shares of Tianren stock, thereby enabling Tianren to

become publicly traded.    Also, there was promising of potential

financing as shown in Item 8(i) of LOI. Alliance, under the

condition that Skypeople finished its auditing of the past two

                                   11
         Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 12 of 60




years financial statements, promised financing as:

"Prior to the signing of a formal share exchange agreement, the delivery of a letter of commitment or
intent from an investment company(s) or individual money mangers stating a firm commitment
towards offering Tianren financing capital."

The LOI established a six-month period for the parties to

conduct due diligence and close the merger, especially Tianren

in that period, should finish the audited financial statements,

and reorganize its corporation structure, following Chinese law,

to obtain approval from Chinese government to become a foreign

ownership company.

        14. Following execution of the LOI, Chien engaged multiple

media outlets to distribute the announcement of Tianren's

substantial progress towards becoming a publicly traded company

in the United States. Under the approval of Mr. Xue, Chien

issued following News Release:

                "Shaanxi Tianren Organic Food Co. Steps Forward OTCBB

NEW HAVEN, Conn., Sept. 8, 2006 -- USChina Channel LLC announced today that Shaanxi
Tianren Organic Food Co., a privately owned company of the People's Republic of China, has made
big progress in its plan to become a US-listed public company. Shaanxi Tianren Organic Food is the
biggest producer of kiwi fruit in Asia and one of the major organic food producers in China. The
Company predicted that in the calendar year of 2006 its revenue and net profits would be over
tenfold their revenue and net profits five years ago because of its successful business expansion and
acquisition strategy. In its business plan, there are more expansion and acquisition targets ahead
because organic food produce is the one of the fastest-growing industries in the world.
    In order to access the US capital market, Shaanxi Tianren Organic Food plans to list in OTCBB
first. Today Shaanxi Tianren Organic Food Co. signed a "Letter of Intent" with Alliance Financial
Partner Inc., a British Columbia Incorporation representing a number of publicly listed NASDAQ
Over-The-Counter Bulletin Board companies. In this letter, Shaanxi Tianren Organic Food Co. Ltd.
will furnish all the necessary reverse merger steps with one of the clients of Alliance Financial
Partner Inc., in about six months.
   If you need further information, please contact:

  Andrew Chien
  uschien@uschinachannel.net"

                                                  12
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 13 of 60




    At that period, fewer Chinese companies could be listed

successfully in US Stock market, therefore, any progress of a

Chinese company could become a hot topic of the investors of

both China and US, even it had to accomplish much uncertainty.

     The announcement by Chien that Tianren, or Skypeople will

go to US public listing soon, was circulated among numerous

investor resources and published in more than forty well

recognized media outlets, including in investor.com, a web site

owned by ''Investor Business Daily", WCNC.com, CBS MarketWatch,

Yahoo, Hoovers, and more than forty different websites. Some

publisher, like Sustainable Food News, wanted Plaintiff to send

them Skypeople's logo to add on the news for their publication.

By following US Media, other Chinese media also published the

news, which became a popular news in both US and China.

     15. Chien sent the information, regarding that the released

news was widely adapted by USA and China media and associated

links, to Mr. Xue and Skypeople(China). They were happy. They

had published these associated links in their own website.

     16. On November 15-19, Chien, upon invitation of Skypeople,

flied to Xi'an Shaanxi, China, and stayed in Skypeople(China)

for four days, met both Hongke Xue and Yongke Xue, and other

middle managers and employees of investor relation. Chien,

accompanied by the managers of Skypeople(China) directly visited

                                    13
     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 14 of 60



their contracted farming land for production of kiwi fruit, one

major product of Skypeople, and took pictures there. Chien's

visiting and photos were widely published on the website of

Skypeople(China), and kept for more than one year, which was a

clear message that the progress of Skypeople(China) for US

Public listing, was going forward. Generally, Chien's activities

were used by Defendants, as the major part of the investor

relation to get Chinese private financing. Chien was a public

figure for Skypeople before the secret transaction between

Skypeople with Barron Capital Advisors LLC ("Barronn) became

public.

     17. When Skypeople secretly engaged reverse merger with

Entech at consultant of Barron, in February of 2008, Skypeople

(China) reported that it acquired additional private investing

for $5.3 million (equals about 42 million of Chinese yuan) in

2006, a very successfully private financing.

   In the exhibits 9-2 and 9-3 of 8-K dated March 3, 2008,

Skypeople(China) reported to have sold 4.4 million shares of

Skypeople(China) with 1,269 shareholders. Among the 1,269

private investors, only less than 2% was local institutions or

residents of Shaanxi province, and 40% were coming from Beijing;

other came from Shanghai, Tianjin, Jiangsu etc., for about 25

municipalities or provinces of China. Such private financing in

                                   14
     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 15 of 60



a national scale was hard to see for a small non-public company

even in US. But such miracle happened in China in 2006, where no

public market for Skypeople was possible. The results of the

successfully private financing in China, approved Chien's work

giving big help to Skypeople. Following is the table for

additional paid-in capital among year 2005, 2006, and 2007. The

year 2007 had slightly variation was due to foreign currency

changing ratio changes. Basically, 2007 private financing in

China, was stagnant, because there lacked the public news of

further progressing in US Public Listing.

             Table: Additional Paid-in Capital

   Year (Jan. 1 - Dec. 31)            2005*        2006*        2007**
Additional Paid In Capital($)      4,619,226    10,901,817    10,682,755
*Reported on 8-K dated March 3, 2008
** Reported on S-1/A dated July 7, 2008


    18. After Skypeople listed in US Market from February 2008

till today, Skypeople obtained additional about $50 million

financing, which would make someone considering the private

fina~cing   in 2006 in China, was not so important, which is not

true. Because it must consider two facts:

    (a) the farming land price significantly changed. In 10-K of

2006, Skypeople reported significant cash outflow because it

made a deposit of 200 million yuan (approximately $30 million)

in the second quarter of 2016 for the purchase 833.5 mu of

                                   15
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 16 of 60



kiwifruits orchard in Mei County. The price was 240,000 yuan per

mu, and 160 times as expensive as that of about 1500 yuan per mu

in 2006.

      (b) Although Barron promised over $3 million invest after

Skypeople finished reverse merger in March of 2008, but Barron

required Skypeople's to satisfy certain financial performance.

Skypeople achieved the financial performance by China's

acquisition, such as reported on Exhibit 10-6 of 8-K dated

3/3/2008, that Skypeople acquired Huludao Wonder Fruit Co.,

Ltd., in which Skypeople paid cash in several steps, the first

payment in 2007, definitely was helped by the private financing

in year 2006.

 Part B. Deceiving and Cheating       Cla~   In Shaanxi Supreme Court

     19. The judgment of Shaanxi Province Supreme People's Court

dated 3/23/2015 is abuse, and unreasonable. It found

"the representative of Skypeople announced that Skypeop~e a~ready became
pub~ic~y ~isted in USA" (3rd parag. of p.8, Attached), but "there was term
that USChina will select an appropriate shell company for Skypeople before
September 8, 2006. In this case, USChina did not have the performance before
the dead~ine specified by the contract. Ti~~ the time when this case was
initiated, USChina sti~~ can't se~ect an appropriate she~~ company for
Skypeop~e. Now, the plaintiff's complaint is the issue that plaintiff
unilaterally cancelled the contract" (P. 9 of Attached) (emphases added).

     Defendants Mr. Xue and Skypeople made deceiving and cheating

claim in the Chinese court. First, defendants abused the nature

of the Contract, which is a consultant with every step must be

closely demanded and cooperated by Skypeople. As Skypeople


                                     16
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 17 of 60



secretly engaged Barron etc., Skypeople already broke the

contract, and concealed update information from Chien, which

made Chien impossible to perform the contract. As China Court

found that Skypeople finished the US public listing, China Court

should affirm that Skypeople unilaterally broke the contract,

which caused no refund as specified in item 9 of the Contract

between USChina (Part A) and Skypeople (Part B):

     "9 Liability for Breach of Contract
       (l)if Part B requests to stop being listed for its own reasons, thus
causing the corporate listing unable to proceed, Part A shall not return the
£ees already received £rom Part B." (emphases added)

    Secondly, the contract, upon Mr. Xue demand, had the term to

find and sign the reverse merge agreement before the September

8, 2006, then to make 8-K filing although, it was changed by Mr.

Xue himself in later execution. The story is follows.

    20. Alliance, a Canada investing consultant firm with

certain source of private financing, helped Chien to locate an

OTCBB company called RAZOR, which was willing to do reverse

merger with Skypeople. But Skypeople didn't qualify to become a

public company:    (a) No audited financial statements (which was

fixed sixteen months later);       (b)the company's structure can't be

allowed by Chinese law to do US listing (which was fixed three

months later by changing Skypeople(China) as a subsidiary of

Pacific Industry Holding Group Co., Ltd., a foreign corporation

of Republic of Vanuatu) .

                                      17
       Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 18 of 60




     Therefore, RAZOR could only show interests in the future

business development of a possible merger with Skypeople, but no

any public announcement, including 8-K filing. Otherwise, it

will violate SEC securities laws to cause the stock price

carrying big volatile. Alliance also expressed it would not give

private financing until Skypeople had audited financial

statement. The information was well delivered to Mr. Xue.

However, Mr. Xue insisted that public announcement was the most

important to execute the Contract. Then the process was changed

as above mentioned in        ~13-14.   Mr. Xue's obligation and authority

were shown in the Contract:

   "4. Use of the Fee paid by Part Band Continuous Implementation of the
Agreement:
   ......... if Part B has already paid the fees and submitted the necessary
financia~ report as per requirements, but Part A haven't chosen the shell
company suitable to merge with Part B within 2 weeks, then Part A sha~~
terminate the Contract after getting consent of Part B ...... "

    6. Other Explanations:
       (3) The service provided by "USCHINA CHANNEL" is the consultant
service. "USCHINA CHANNEL" shall assure that the source of information when
it mentions about it is reliable.
"USCHINA CHANNEL" is not the decision-maker and sha~~ not be responsib~e for
the resu~ t of "reverse merger". Part B sha~~ be responsib~e for a~~ its
re~eased news and financia~ reports. Part B sha~~ a~so be responsib~e for
conforming to China's ~aw and regu~ations."


     21. Mr. Xue with Skypeople made false claim in China Court

by concealed the material information that it was Mr. Xue who

changed the performance of the contract, by using the News

Release replaced the impossible SEC filing of 8-K, due to

Skypeople's disqualification for US public listing at that time.


                                         18
     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 19 of 60




Mr. Xue didn't submit the following evidence to China Court:

dozens of e-mail among Chien, Mr. Xue, employees of Skypeople,

and Alliance, showing the process of how to change the

performance of contract; and Mr. Xue's approval of the News

Release; the documents showing Skepeople's successful private

financing after the News Release on September 8, 2006;

information regarding that Mr. Xue hosted, and entertained

Chien's visit to Skypeople in November of 2006, etc.

    22. The other tort of Mr. Xue with Skypeople in China Court

is that the real target was to suppress Chien personal, not

OSChina. Because Skypeople and Mr. Xue know that USChina

dissolved, and Chien entered personal bankruptcy in July of

2013. In China, plaintiff has the burden to approve defendant

USChina is legitimate, then the suit can stand (P.5 Attached).

But Mr. Xue and Skypeople continued their case despite that

Chien's bankruptcy in 2013.

    23. The process of China Court was abused, and conspiracy.

Chien didn't receive any notice of when and where the trial will

be held in Shaanxi Supreme People's Court.

    24. As showed on p.5 of Attached, 240,000 yuan was paid by

Mr. Xue on behalf of Skypeople. Therefore, after the judgment,

Mr. Xue will get the full payment of 240,000 yuan, as the real

beneficiary of the unjust enrichment.

                                   19
       Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 20 of 60




     Part C. Defendants' Tort in Executing the Contract

     25. Ther e wa s exclusive terms of the contract t o prevent

either side to engage third party, as listed in Item:

    "7. Confidential:

     (2). All parties treat the information coming from opposite party as
"confidential information" (except some information already public). Any
party can't use the received confidential information of opposite party to
the application unrelated to this contract, not to a~~ow ~eaking the
information to any third party. "

     9. Liability for Breach of Contract
     ( 4) ...... Before both parties reach agreement on termination of the Contract,
each party sha~~ continue to imp~ement the Contract. Any ~iabi~ity for breach
of contract and the responsibi~ity of compensation arising therefrom sha~~
not be exempted."

     26. Due to the contract, after the New Release, Skypeople

should immediately enter auditing of the financial statement,

arranged by Chien, and pay a reasonable fee. Chien contacted

Kenne Ruan, CPA, P.C., Woodbridge, CT for Skypeople to do

auditing. Mr. Ruan, via Chien, sent Skypeople an engagement

letter on September 25, 2006, and answered them technical

questions for several times. The last answer of Mr. Ruan, via

Chien, was made in December 2006. But Tianren never signs the

engagement letter without any explanation. Therefore, the

auditing by Mr. Ruan couldn't go through.

     27. The exclusive right not only was signed in the contract,

but also in the signed "LOI" on September 7, 2006, that

Skypeople must engage Alliance to do reverse merger:

     On page 1, preface of LOI:


                                         20
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 21 of 60



"The purpose of this letter ("Letter of Intent") is to set forth certain non-
binding understandings and certain binding agreements between Alliance
Financial Partners Inc .... "

     On Item   "9. No Shop:

After the sign of the Letter of Intent, Alliance and Tianren agree not to
offer the business combination to anyone else, nor to provide any information
to any other potentia~ business combination partner except that either side
fails to deliver the conditions as specified in 8 in the six month period
(emphasis added)."

     On Item: "11. Termination:

The binding effective of this letter as specified 6, 7 and 9 wou~d terminate
within six months (emphasis added) from the date of signature if Tianren,
Alliance or USChina Channel LLC cannot deliver the condition as specified in
8, except that extended in writing and agreed upon by the parties."

   Obviously, the binding effectiveness of the LOI had six-month

period, and was effective until March 7, 2007.

    28. In May 2007, shortly after LOI expired, USChina Channel

Inc., a Nevada shareholder company controlled by Chien, was

securing SEC approval to become an OTCBB company suitable to

operate as a shell company for Skypeople, thus providing another

suitable alternative for Skypeople to fulfill its obligation of

entering into a Merging Agreement with a 'listed or to be

listed' shell company in the event Skypeople could not proceed

with Alliance.

    29. Throughout the Summer and Fall of 2007, the parties

continued to confer and discuss the status of Skypeople's public

listing.    Skypeople reassured Chien that it was continuing to

actively pursue the Contract's purpose of becoming publicly

traded in the U.S., but had experienced certain temporary

                                     21
        Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 22 of 60




setbacks due to inadequate financials and the long procedure of

shifting Skypeople from a Chinese held company to a foreign

owned company, which were causing delay. Given this, neither

Chien nor Mr. Xue took any action with respect to terminating

the Contract and instead Chien continued to perform in good

faith.

    30. Later, Chien, at SEC filing,         learned that:

    (a) Skypeople registered, for the purpose of the OTCBB

listing process, a holding company named Pacific in the Republic

of Vanuatu on November 30, 2006, and Chien never being informed

of the jurisdiction change of Skypeople.

    (b) Skypeople hired a third party - Barron as financial

consultants to get OTCBB listing.

    (c) Skypeople engaged auditing firm Child, Van Wagoner &

Bradshaw, locating at 5296 South Commerce Drive, Suite 300, Salt

Lake City, Utah 84107, and issued an auditing report on June 19,

2007 for the financial period ended December 31, 2006 and 2005,

which was included in the SEC filings:         Form 8K filed on March 3,

2008.

        Mr. Chien didn't exactly know when Skypeople engaged Child,

Van Wagoner & Bradshaw, estimated around the beginning of 2007.

In SEC Form S-1 filed on March 26, 2008, it showed Professional

Fees (including auditor, and lawyer services) $225,000.

                                      22
       Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 23 of 60




           Part D. The Lawsuits between Chien and Skypeople

     31. After Chien was aware that Skypeople and Mr. Xue cheated

him, Chien initiated several lawsuits against Skypeople etc., to

seek compensation damage from the contract that Skypeople

promised to pay USChina a fee totaling $250,000, pursuant to the

"Payment Timetable," as well as to pay and keep Chien 2% of the

shares of Skypeople in a period of three years after becoming

publicly traded in USA.

     32. On August 8, 2008, Chien, filed an action in this Court,

against Skypeople, Yongke Xue, and later added Barron Partners

L.P. by Amendment, which was dismissed for a lack of subject

matter jurisdiction because diversity jurisdiction did not exist

pursuant to "28USC §1332".       Chien v. Skypeople, 3:08-CV-1154

( CSH) .     In the ruling dated Oct. 9, 2009, the Honorable Judge

Charles S. Haight, Jr. stated that "(b]ecause the Court lacks

subject matter jurisdiction, it does not reach the alternative

grounds for dismissal advanced by Defendants."          The Court made

no adjudication on the underlying merits of the claims.

     33. On October 18, 2009, Chien brought an action, in

Connecticut Superior Court against Barron Capital Advisors, LLC

and Skypeople. Subsequently, Defendants removed that action to

this court Following such removal, the case, Chien v. Barron

Capital Advisors, LLC, 3:09-CV-1873(CSH), was dismissed on July

                                     23
     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 24 of 60




25, 2011, because Mr. Chien was a pro se litigant, and the Court

held that a pro se litigant may not bring claims on behalf of a

corporate entity. The Court made no adjudication on the

underlying merits of the claims.

    34. On August 18, 2011, Chien filed a complaint, in

Connecticut Superior Court against Barron Partners L.P.,

Skypeople, and Yongke Xue. Chien v. Barron Partners, L.P., NNH-

CV-11-5033976S. Following a motion to dismiss, the Court entered

an Order, dated January 5, 2012, dismissing the claims by Chien,

appearing pro se and in doing so held that Mr. Chien lacked

standing and that the court lacked personal jurisdiction over

the Defendants.   In his ruling, the Honorable Brian T. Fischer

stated that "[a] motion to dismiss ... properly attacks the

jurisdiction of the court, essentially asserting that the

plaintiff cannot as a matter of law and fact state a cause of

action that should be heard by the court."        Given the absence of

jurisdiction, there was no adjudication on the merits as to any

claim brought by Chien.

    35. In March of 2012, USChina, at Counsel Todd A. Higgins,

Esq., filed Complaint against Barron Capital Advisors, LLC., and

Skypeople in US District Court, Southern District Of New York

under Case No. 1:12-CV-02324(LAK). The tort claim against Barron

was denied due to time bar. As for the allegation of the

                                   24
     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 25 of 60




contract breach claim against Skypeople, the court, issued order

on 6/19/13, to deny it due to that venue selection conflicted

with Chinese venue selection as specified in Contract despite

that Skypeople wasn't a signatory of the contract.

    36. In Summary, although Chien was failed in previous

several lawsuits, there was no any legal adjudication on the

merits as to any claim brought by Chien. Especially, defendants

never can dispute the facts of their fraud. The recent Chinese

court fraud initiated by defendants in China, further approved

that the term of Chinese venue selection in the contract, was

fraud, classified as "Ouster Doctrine" as shown below.

    37.   (a) In September 2008, Skypeople filed an action in the

Xi'an Municipal Intermediate People's Court, in China, against

USChina and Anding Qian seeking a return of the service fees

paid pursuant to the Contract at issue in this matter.          The

complaint was denied.

     (b). On October 11, 2010, Skypeople, again filed an action

in the Xi'an Municipal Intermediate People's Court, in China,

against USChina and Anding Qian to seek return of the payment

made to USChina pursuant to the Contract at issue in this

dispute, which was denied again. Then Skypeople made appeal, and

obtained a fraud order on 3/23/2015 by deceiving and cheating.

Chien has been default at the judgment-debt, which created great

                                   25
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 26 of 60




threat to Chien's liberty when Chien does business in China.

                        V. Standard and Argument

 Part A. Defendants Consistently Engaged Deceiving and Cheating

     38. As mentioned in above      ~19-21,    Skypeople and Mr. Xue made

decision to change the performance of the contract by signing

LOI with Alliance, a private financing controller of shell

companies, rather than the shell company itself. From the

substantive test, the first step of the contract was well done.

Therefore, it was cheating and deceiving that in China Court, by

defendants to allege Chien violating the performance of the

contract.    Defendants did the same fraud in this court. In Chien

v. Skypeople, 3:08-CV-1154(CSH), Skypeople argued, on the

Memorandum filed on 10/06/08, that Chien, at USChina, failed to

perform under the Contract:

"[b]ecause China Channel [sic] could not locate a suitable partner, Tianren
terminated China Channel [sic] as its financial advisor, and replaced it with
Barron Partner LP, located in New York, New York." (bottom parag. of p.4.
Doc. #5, filed 10/6/08)

Skypeople's argument has two frauds: first it was a material

deceiving statement of USChina not locating a suitable shell.

Secondly. Skypeople admitted that it made tort on Chien by

engaging Barron replacing USChina unilaterally and secretly.

    39. As details in previous       ~19-21,   Mr. Xue couldn't deliver

the audited financial statements, therefore, there was no way to

discuss the value of the shell company, which was public traded,

                                     26
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 27 of 60




and its share price would be immediately affected by the News

Release of the reverse merger. In the process of reverse merger

and private financing, there will be the share distributions

among Skypeople, and shell company, and private investment from

Alliance etc. The share distributions will only be discussed

based on the Financial Statements of Skypeople, in the same way

as Skypeople did with Entech and Barron in 2008. Mr. Xue was

clearly informed, and understood of this. On September 4, 2006,

after Mr. Xue's verbal agreement, Mr. Chien sent the draft of

the pending news to Mr. Xue for review. In the telephone

conversation, Mr. Chien emphasized to Mr. Xue that there were

two selections: if Mr. Xue didn't want to sign LOI and use News

Release replacing a SEC filing, the refund item in the service

contract would be executed immediately; and alternatively, if

Mr. Xue agreed the change, all other contents of the contract

would be the same as that in original. Mr. Xue selected the

later. In the meantime, the information of the shell company of

RAZOR was sent to Mr. Xue confidentially.

      After negotiations and drafting, the final English version

(no Chinese version) of LOI was prepared on September 6, 2006,

with the last paragraph:

"If the foregoing is acceptable, please indicate your approval in the space
provided below and return one fully executed copy of this Letter of Intent to
Andrew Chien, USChina Channel LLC, 665 Ellsworth Avenue, New Haven CT 06511.
Unless accepted by Alliance and delivered to Mr. Chien by 2:00p.m. PST on

                                      27
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 28 of 60




the seventh (7~) of September, 2006, this Letter of Intent shall expire and
shall be null and void and of no effect."

    Dave Wong on behalf of Alliance, singed, and sent all scanned

pages of LOI to Chien by e-mail; and Defendant Mr. Hongke Xue

singed, and stamped seal of Shaanxi Tianren Organic Co. Ltd, on

the last page of LOI, then send a canned copy of the last page

to Chien by e-mail on September 7, 2006 before Chien specified

dead time of 2:00 p.m. PST (USA). Both parties, through Chien,

exchanged their signature copies. The execution was serious.

     Defendants, by concealing the facts, committed "18USC §1623

False declarations" in both this Court and Chinese Courts

 "18USC §1623 False declarations before grand jury or court
   Whoever under oath (or in any declaration, certificate, verification, or
statement under penalty of perjury as permitted under section 1746 of title
28, United States Code) in any proceeding before or ancillary to any court or
grand jury of the United States knowingly makes any false material
declaration or makes or uses any other information, including any book,
paper, document, record, recording, or other material, knowing the same to
contain any   £a~se materia~   dec~aration,   ......
This section is applicable whether the conduct occurred within or without the
United States.

    The later events of Skypeople merged with Entech, approved

that defendants are dishonest. If RAZOR had signed merger

agreement and made 8-K filing with Skypeople before 9/8/2006,

RAZOR, Alliance and Chien would have more trouble from

complaints of shareholders of RAZOR, or even suffered inquiries

from some authorities regarding securities law violation.

    Part B. Defendants Retaliated Chien for Unjust Enrichment

     40. No any Item of the Contract allowed Defendants looking


                                          28
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 29 of 60




the refund of 240,000 yuan, which, from the contract, should be

executed within 72 hours of disagreement of the performance

dated 9/8/2006, not two years later after the fact of success of

the execution.

    As mentioned in previous       ~27,    Defendants didn't do auditing

in 2006, and later conspired with Barron to do US public

listing, which caused the interruption of the contract with

Chien. Due to following terms of the contract: Items:

"4. Coverage of fees paid by Part Band continuous performance of the
contract:
... If Part B couldn't execute the next stage work within three months after
the signatures of LOI, then the contract may end by the negotiation of both
parties. I£ the contract ends, Part A wi~~ not refund any received fees, and
the Shell company, no longer has any binding effect with Part B. Part A has
no obligation to answer the inquiries of China's shareholders",

Skypeople and Mr. Xue didn't have any legal right to ask the

refund. The Chinese lawsuit, at fraud procedure to sue a non-

existing entity of USChina, is to retaliate Chien's disclosure

at Mr. Xue's dishonest behavior in the process of US Public

Listing, plus to look for unjust enrichment.

                            Part C. Extortion

     41. Since Chien violated paying judgment debt to defendants,

Defendants have the right to coerce Chien making payment. In

China, Chien will be subjected to torture, cruel, inhuman, or

other degrading treatment or punishment, arbitrary arrest and

prolonged detention, and forced labor, and beatings, which

caused Chien's fear, and losing the freedom to travel to China,
                                      29
       Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 30 of 60




and losing his business, damaged reputation, and losing physical

visit or reunion with his Chinese relatives, friends, social

contacts, and others.

     In Connecticut General Statutes, Extortion combines with

larceny as:

"§53a-119 - Larceny defined
(5) Extortion. A person obtains property by extortion when he compels or
induces another person to deliver such property to himself or a third person
by means of instilling in him a fear that, if the property is not so
delivered, the actor or another will: ......... (D) accuse some person of a crime or
cause criminal charges to be instituted against him; or (E) expose a secret
or publicize an asserted fact, whether true or false, tending to subject some
person to hatred, contempt or ridicule; ......... or (G) testify or provide
information or withhold testimony or information with respect to another's
legal claim or defense;".

     Since the judgment-debt was the result of fraud Chinese

lawsuit, therefore, Defendants engaged extortion and alien tort

at Chien, by offending both "28USC § 1350" and

"18USC §875(b) Whoever, with intent to extort from any person, firm,
association, or corporation, any money or other thing of value, transmits
in interstate or foreign commerce any communication containing any threat
to kidnap any person or any threat to injure the person of another, shall
be fined under this title or imprisoned not more than twenty years, or
both."

                         Part D. Retaliation

     45. Other fraud of defendants engaged in Chinese Courts, was

regarding status of USChina. USChina was limited liability

company, and had dissolved, and no assets when the Appeal in

Shaanxi Supreme People Court was going on. Due to Rule 48 of

Chinese Civil procedure, the lawsuit should cancel because

USChina wasn't existing or legitimate. But, Defendants deceived


                                         30
       Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 31 of 60




Chinese court, and push the case forward. Therefore, the real

purposes were to create unjust enrichment for both Skypeople and

Mr. Xue, and to retaliate Chien for Chien's discovery of the

dishonest and bad faith in the process of going US public

listing. (Skypeople paid $2.2 million settlement on 01/27/2014,

in a class action of Shareholders, Case No. 1:11-CV-02700(PKC),

for not disclosure that Mr. Xue owned nearly half of the

property when Skypeople using cash from US Investors to purchase

the Chinese property in 2010).

     46. Defendants violated due process of Amen XIV. The trial

process of Shaanxi Supreme Court was secret, and no notice to

Chien.

                      Part E. Racketeering ("RICO")

     47. Defendants committed acts of RICO, "18USC §§1961-1968 11 •

     "18USC §1961 (1) (A)   'racketeering activity' means       (A) any act

or threat involving ...... extortion, ....   11




     "18USC §1961 (1) (B)" listed many acts, including: "18USC

§1513 (e) Retaliating ...

     (e)Whoever knowingly, with the intent to retaliate, take any action
har.mfu~to any person, including interference with the lawful employment or
~ive~ihood of any person, for providing to a law enforcement officer any
truthful information relating to the commission or possible commission of any
Federa~ offense" (emphasis added)


    What defendants did in China as mentioned in above           ~45,    was

extortion and retaliation, offenses of "18USC §1961 (1) (A)         11
                                                                         and

"18USC §1513(e)".
                                     31
     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 32 of 60




    48. From the above-mentioned Racketeering causes, Chien

suffered offenses in "18USC §1962       (d)conspiracy", and "18USC

§1962 (a), (b), (c)". To cite "18USC §1962 Prohibited activities",

the alleged engaged racketeering pattern, defined in "18USC

§1961(5)", will be at least two acts in past ten years.

     In fact, in February of 2008, Skypeople under manipulation

of Mr. Xue, conspired with Barron to violate the exclusive right

of USChina and Chien, in the contract, was offenses of the

"18USC §1341 & §1343 mail fraud and wire fraud", which including

acts, at mail and wire, of cheating Chien and conspired with

Barron, to engage reverse merger with Entech etc.

     Defendants offended "18USC §1951 Interference of interstate

commerce" also. Why?   (a)To plan or trade shares in stock market

nationally, is an interstate commerce. What Skypeople and Barron

did, was to avoid issuing, and guaranteeing 2% of outstanding

shares of Skypeople to Chien for 3 years, which was dishonest,

deceiving acts of the Wall Street's business;        (b) Chien's

business has been interstate commerce since 2006, because it is

relative to private investing, and public traded companies. The

tort of Defendants damaged Chien's business, has long time

effect, including significantly negatively affected Chien's

another public company of "China Bull Management Inc". Chien

can't take China trip to meet customers. Chien's reputation

                                   32
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 33 of 60




damaged. Chien's social contact in China, such as Anding Qian

etc, is afraid to make any help to Chien, because of the threat

of lawsuit.

     49. Regarding the existing of racketeering enterprises, as

defined by "18USC §1961(4)", the enterprises may be individual.

Here, Skypeople, HongKe Xure, and Yongke Xue were major members

of Racketeering enterprises. Others, such as Barrons, and

counsels of Skypeople or Hongke Xue,        joined the activities of

the Racketeering enterprises.

  Part F. Civil Right to Sue Tort Relative to Contract Fraud

     50.   (a)USChina was dissolved several years ago with one

member of Chien. Due to §34-208 of Connecticut General Statutes:

     "Sec. 34-208. Winding up.

      (b) The persons winding up the business and affairs of the limited
liability company may, in the name of, and for and on behalf of, the limited
liability company: (1) Prosecute and defend suits; (2) settle and close the
business of the limited liability company; (3) dispose of and transfer the
property of the limited liability company; (4) discharge the liabilities of
the limited liability company; and (5) distribute to the members any
remaining assets of the limited liability company" (emphases added).

    Therefore, Chien not only has the obligation to suffer

various liabilities which USChina left, but also has the

authority to pursue what USChina deserved compensation damage

from third parties. In previous cases of this Court, this Court

denied Chien to represent USChina, which is total different from

this case that Chien represents himself to inherit the remaining

both benefits and liability of USChina after the dissolvement.

                                     33
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 34 of 60




This is civil right of Chien for equal protection of the law,

"42USC §1981 & §1983", by same qualification in suffering

liability and enjoying benefits from lawsuits.

    (b)The extortion and retaliation of defendants at Chinese

court, really exposed the bad faith, dishonest, deceiving and

for unjust enrichment of Defendants, when they signed and

executed the Contract with Chien in 2006 and 2007. Since the

judgment debt is forever effective, therefore, the Contract

became a fraud tool in vex and depress Chien forever. Chien has

the right to claim the contract fraud now due to Connecticut

General Statutes

   "§52-595 - Fraudulent concealment of cause of action
   If any person, liable to an action by another, fraudulently conceals from
him the existence of the cause of such action, such cause of action shall be
deemed to accrue against such person so liable therefor at the time when the
person entitled to sue thereon first discovers its existence.u

   51. In the contract, there was a term, mentioned the China

forum selection. But that is "Ouster Doctrine", which means

contracting parties could not preventing a court from taking

jurisdiction of a case through contracting agreement.

    The rationale of "Ouster Doctrine" was "that a court's

jurisdiction was established by law, and thus could not be

altered by a private agreement. An often-cited example of the

ouster doctrine comes from the Supreme Court's opinion in

Insurance Co. v. Morse, 87 U.S. 445(1874):


                                      34
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 35 of 60



"Every citizen is entitled to resort to all     the   courts of the country, and to
invoke the protection which all the laws or     all   these courts may afford him.
A man may not barter away his ... freedom, or   his   substantial rights ... [and]
agreements in advance to oust the courts of     the   jurisdiction conferred by law
and illegal and void".  87 U.S. 445(1874).

     In our case, Plaintiff Chien and Defendant Skypeople are

USA citizens. Although defendant Mr. Xue isn't a US citizen, but

he controlled the operation of Skypeople, a US Citizen. The

lawsuit is to allege the tort happened in both USA and China,

against Chien, a US citizen. To enforce Chinese law and China

forum in this lawsuit became asking Chinese court to deal with

tort in USA territory, which is unlawful attempts to

contractually oust USA courts of its jurisdiction in its

territory. This is unconstitutional, harm to USA Sovereignty.

   52. The forum selection clauses in the contract should not be

enforced, and the order of 6/19/13, under Case No. 1:12-CV-

02324(LAK) by US District Court, Southern District Of New York

didn't apply here due to following reasons:

     (a) This case based on events happened after the contract

signed. All defendants are third-parties, not parties of the

Contract.

     (b) The State-law of CT didn't recognize foreign countries'

law and forum selection, as in Connecticut General Statutes

"§52-604. Definition of foreign judgment".

     (c) When US District Court, Southern District Of New York

issued order on 6/19/13, the major events of Chinese court's
                               35
      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 36 of 60




order dated 3/23/15, didn't exist. Mr. Xue wasn't a party in

that case.

     (d) RICO claims are based on US law, and first time raised.

     (e) The claim of "28USC §1350 -Alien's action for tort" is

relative to China's weak judicial system, and poor records of

human right. The famous case of applying "28USC §1350" in USA,

is "Wang Xiaoning v. Yahoo" (see: Wikipedia: Alien Tort Statute)

"In 2007, the World Organization for Human Rights USA filed a lawsuit against
Yahoo! on behalf of Chinese dissidents Wang Xiaoning and Shi Tao (Guao
Quingsheng), claiming jurisdiction under the ATS. According to the complaint,
Wang and Shi Tao used Yahoo! accounts to share pro-democracy material, and a
Chinese subsidiary of Yahoo! gave the Chinese government identifying
information that allowed authorities to identify and arrest them. The
Complaint alleges that the plaintiffs were subjected to 'torture, cruel,
inhuman, or other degrading treatment or punishment, arbitrary arrest and
prolonged detention, and forced labor.'

Yahoo! settled the case in November 2007 for an undisclosed amount of money,
and it agreed to cover the plaintiff's legal costs as a part of the
settlement. In a statement released after the settlement was made public,
Yahoo! said that it would "provide 'financial, humanitarian and legal support
to these families' and create a separate 'humanitarian relief fund' for other
dissidents and their families."

                           VI. Causes of Action

    53. In following Counts against every defendant, the

contents of all paragraphs in above or below are combined.

        Count 1.    Extortion Against both Defendants

     54. Defendants Skypeople and Mr. Xue secretly created in

Shaanxi Supreme People Court, a judgment debt of 253,400

Chinese yuan ($37,315), with penalty of double interests.

Currently, Chien is default at payment. Due to Chinese law,

defendants can any time take coerce action at the Chinese

                                      36
     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 37 of 60




judicial system in China against Chien, and Chien's business.

Chien will be subjected to torture, cruel, inhuman, or other

degrading treatment or punishment, arbitrary arrest and

prolonged detention, and forced labor, and beatings, which

caused Chien losing the freedom to travel to China, and losing

his business, damaged reputation, and losing physical visit or

reunion with his Chinese relatives, friends,       social contacts,

and others. USChina was dissolved. To sue USChina in China was

conspiracy, fraud, and for unjust enrichment and retaliation.

Defendants engaged tort in China, and offended extortion,

including C.G.S "§53a-119(5)", and "18USC §875(b)", to damage

Chien's foreign business.

Count 2. Falsified Statements and Concealed Material Information

    55. In manipulation of Defendant Mr. Xue, Defendant

Skypeople committed tort of two counts of offense of "18USC

§1623" in China Court and this court in Case 3:08-CV-1154, by

making false or concealed following material information:

    (a) Hiding communication among Chien, Mr. Xue and Alliance

regarding the unwillingness of making private investing by

Alliance, reverse merger with RAZOR without audited financial

statements of Skypeople before 9/8/2006 (see above        ~20)   .

    (b) Hiding communication among Chien, Mr. Xue and Alliance

regarding Mr. Xue personal approved the LOI with Alliance and

                                   37
     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 38 of 60




the News Releases   (see above   ~39).


    (c) Hiding activities of Chien arranging auditing firm, and

Chien's personal visit to Skypeople in November of 2006, and

Skypeople actively engaged China private financing by the story

of going US Public Listing (see above      ~16&26).


    (d)   False statement of USChina at Chien failed to perform

the contract.

    (f)   In China Court alone, having concealed that USChina

already dissolved in 2013, no longer qualified as a defendant.

    Count 3. Conspiracy Against both Defendants

    56. Defendants made following conspiracy:

    (a)   In manipulation of Defendant Mr. Xue, Defendant

Skypeople conspired with Shaanxi Supreme People Court to arrange

trial without notice to Chien, and without notice to Chien of

the judgment debt after to issue the order on 3/29/2015; and

made a judgment against non-existing entity of USChina.

    (b) Defendants Skypeople and Mr. Xue, conspired with his

brother Yongke Xue to change the corporation structure of

Skypeople (or Tianren)   from Chinese domestic to a subsidiary of

Pacific Industry Holding Group Co., Ltd., a foreign corporation

of Republic of Vanuatu, on November 30, 2006, for purpose of US

Public listing without notice to Chien (see above        ~20&30(a)).


    (c) Defendants Skypeople and Mr. Xue conspired with his

                                   38
        Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 39 of 60




brother Yongke Xue to hire auditing firm Child, Van Wagoner &

Bradshaw without notice to Chien, and broke the second stage

execution of the Contract for Skypeople (see above           ~30(c)).


    (d)    Defendants Skypeople and Mr. Xue conspired with Barron

to engage reverse merger with Entech in February of 2008.

    Count 4. Racketeering Acts Against both Defendants

    57. Defendants Skypeople and Mr. Xue engaged one count of

extortion, offenses of "18USC 1961(1) (A)", and one count of

retaliation of offense of "18USC §1513(e)"(see above           ~47).


   58. Defendants Skypeople and Mr. Xue engaged three counts of

Offenses of "18USC §1341 & §1343 mail fraud and wire fraud",

when they (a) didn't follow pay schedule in Contract but still

used the widely media coverage, made by Chien's performance;

plus Chien's visit to Skypeople as important private financing

in China in 2006;      (b)engaged auditing firm Child, Van Wagoner &

Bradshaw without notice to Chien; (c)conspired with Barron to

engage reverse merger with Entech in February of 2008 at the

offices of Guzov Ofsink, LLC, 600 Madison Avenue, 14th Floor,

New York, New York 10022, but without notice to Chien above

~30).


    59. Defendants Skypeople and Mr. Xue engaged one count of

Offense of "18USC §1951" by threat from enforcing judgment-debt

in China, greatly interrupted Chien's interstate business in

                                      39
        Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 40 of 60




China, and became a big barrier for Chien's travel to China

(see above    ~54).


    Count 5. Due Process Violation Against both Defendants

    60. There was no notice for both trial and judgment for

Chien. USChina was dissolved, not qualified for defendant. There

was significant violation of due process of Amend XIV in China's

case.

    Count 6. Unjust Enrichments Against both Defendants

     61. Skypeople under manipulation of Mr. Xue, conspired to

interrupt the Contract, and escaped reasonable payment. In 2015,

Skypeople under manipulation of Mr. Xue, created the illegal

judgment debt against Chien, then transferred the benefits to

Mr. Xue.

            Count 7. Tort in Securities Law Violation

     62. In 10-K of Skypeople filed and signed by Mr. Xue, there

was no disclosure that Skypeople as a middleman, received

2 40,000 Chinese yuan for officer HongKe Xue. The legal costs

paid by Skypeople, but the benefits were for the major officer

of Mr. Xue. Attached to 10-K of year 2015, Mr. Xue signed two

certificates to certify that there was "no untrue statement" or

"omit of a material fact"; another listed as EXH.32.1 to certify

that:

     "pursuant to 18USC §1350, as adopted pursuant to ss.906 of the Sarbanes-
Oxley Act of 2002, that:

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      Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 41 of 60




      '1. The Report fully complies with the requirements of Section 13(a) or
15(d) of the Exchange Act of 1934; and
       2. The information contained in the Report fairly presents, in all
material respects, the financial condition and results of operations of the
Company"" (emphasis added).

  "18USC §1350" specified the significant felony punishment for

officers, who knowing false certify, or willfully certify, on

forms of 10-K as what Mr. Xue did now. Mr. Xue offended "18USC

§1350". Also, defendants violated "18USC §1001" of making false

statement to government organization of SEC.

                                VII. Relief

     63. The unjust enrichments of Defendants included escaped

payment of (a) $220,000 cash as scheduled in the Contract;             (b)

2% of Skypeople outstanding shares of all kinds of stock and

warrants; plus, about $ 37,315 judgment debt plus interests. All

the added up caused Chien's compensation damage.

     64. Chien applies here "18USC §1964(c)" to seek triple

remedy of the Racketeering damage.

     65. A jury-trial is demand.

Respectively submitted
                                 Pro Se:   P. c,{,~lt.
                                           Andrew Chien
                                           665 Ellsworth Avenue
                                           New Haven, CT 06511
                                           Tel:203-5628899


    Attached: Order of 3/29/2015 of Shaanxi Supreme People

Court, China: English translation and original copy in Chinese


                                      41
     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 42 of 60




                                Affidavit
    To whom it may concern:
     I, Andrew Chien, am over 18 years old, and live at 665
Ellsworth Avenue, New Haven, CT 06511.
    I have high level education in both China and USA, and
understood both Chinese and English well.
    Attached,    I translate the Civil Judgment of Shaanxi Province
Supreme People's Court, China, dated March 23, 2015, from
Chinese into English.
    Under oath of perjury penalty, I swore that the translation
is accurate at my best knowledge.


                                       Print Name: Andrew Chien
    Attached.
                              Public Notary




      My Commission Expire.
      November 30, 2019 ~
     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 43 of 60




                The People's Republic of China

          Shaanxi Province Supreme People's Court

                           Civil Judgment

                                   (2013) Shaan M sha chu zi No.00084

    Appellant (original plaintiff): SkyPeople Fruit Juice Inc.,

located at Shaanxi Xi'an Yanta District High-tech District High-

tech Road on the 6th high-tech Silver Building Room 20607.

    Legal representative: Hongke Xue, Chairman of the Company.

    Entrusted Agents: Jingke Bai, and Xuan Zhou, Attorneys of

Shaanxi JinYuan Law Firm.

    Appellees (original defendant): USChina Channel LLC, 665

Ellsworth Avenue, New haven, CT 06511

    Legal representative: Andrew Chien, Chairman of the Company.

    Appellees   (original defendant): Anding Qian, male, Han

ethnic group, born on February 3, 1950, retired employee of

Jiangsu Wuxi Chanxiang Fashion Co., Ltd., residing at Room 202,

No.16 Tongyangxincun, Nanchan District, Wuxi, Jiangsu Province.

    Entrusted agents: Guoping Zhu, and Yanjing Zhu, Attorneys of

Jiangsu Maoye Law Firm.

   Appellant Skypeople Fruit Juice Inc (hereinafter referred to

as "Skypeople"), in the case of disputing with USChina Channel

LLC Inc (hereinafter referred to as "USChina Inc"), and Anding

Qian, disagreed with the judgment of Xi'an Intermediate Court


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     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 44 of 60




(2011) Xi Min Si Chu Zi No.00025, and appealed in this Court.

This Court, following the law, set up a collegial bench and held

a public hearing for this case in the presence of Jingke Bai,

counsel for Skypeople, Guoping Zhu, Yanjing Zhu, counsels for

Anding Qian, and absent of USChina Inc which was served with

Summons. The court proceedings of this case have been completed.

    After the proceeding, the trial court found that on August

28, 2006, Skypeople with USChina signed the "Service Contract

for Public Listing", with term that USChina, before September 8,

2009, shall select an appropriate shell company for signing

reverse merger agreement with Skypeople, and submit the

agreement to US Securities Exchange Commission ("SEC") for

filing; and Skypeople would pay service fee for 240,000 Chinese

yuan ("yuan"). The contractual dispute will subject to the laws

of China in the local court governing Skypeople. On August 28,

2006, both parties signed "Supplementary Agreement", with term

that Anding Qian, trusted by USChina, would receive the 240,000

Yuan. If USChina fails to select the shell company for

Skypeople, then USChina would stop performance of the contract

upon agreement of Skypeople, and let Anding Qian being

responsible to refund the fee of 240,000 yuan. After the signing

of the contract, on September 1, 2009, Skypeople legal

representative Hongke Xue paid 240,000 yuan to the account of

Anding Qian. On the same day, USChina issued a receipt to

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     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 45 of 60




Skypeople. Skypeople, by submitting two e-mails: one from

USChina Andrew Chien to President of US Alliance Company, and

another from President of US Alliance Company to Skypeople,

substantiated that USChina could not find the appropriate shell

company for Skypeople within the specified period. Additionally,

Skypeople on August 28, 2008, sued USChina in the trial court.

On December 9, 2008, the trial court, dismissed the complaint of

Skypeople due to the reason that Skypeople could not supply the

certified document to substantiate the legitimate corporation

status of USChina. On December 7, 2010, Skypeople filed this

case in the trial court again. Further investigation shows, on

January 11, 2009, upon approval by the Industry and Commerce

Administration, Shaanxi Tianren Organic Food Co. Ltd., was

renamed as Skypeople Fruit Juice Inc. The above facts were

supported by "Service Contract for Public Listing",

"Supplementary Agreement", Receipt of the payment, and the

transcript of the trial court.

    Combined all of complaint of Skypeople, responses of both

USChina and Anding Qian, the major disputes of this case are: 1.

Jurisdiction of this case; 2. Skypeople's qualification as major

beneficiary of this case; 3. Skypeople's Claim of 240,000 yuan

with accrued interests of 240,000 yuan; 4.the virtue of the

applicable statute of limitations; 5. The issue of Anding Qian

having joint and several liabilities.

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     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 46 of 60




    The trial court was of the opinion that this case is a case

involving the United States. Both parties agreed that the court

where SkyPeople was located, governed the contract, subject to

laws of China. It is proper for the Intermediate People's Court

undertook this case, because she is in the area where Skypeople

locates, and has jurisdiction over cases involving foreign

matters. Based on the rights of voluntarily selecting law by the

parties, and both parties agreed to apply laws of China,

therefore, this case should apply laws of China. The "Service

Contract for Public Listing", and "Supplementary Agreement",

made on August 28, and August 29, 2006 respectively, were signed

under genuine interests of both parties, and deemed valid

because the contents didn't violate any of mandatory provision

of laws, or the administrative regulations.

    1. Jurisdiction of this issue:

    Both Skypeople and USChina agreed that any dispute of this

contract was governed by the court where Skypeople located. The

trail court, as the intermediate people's court governing where

Skypeople locates, and having jurisdiction over foreign affairs,

has jurisdiction over this issue. Further, USChina didn't raise

the issue of invalid of the jurisdiction with applicable statute

of limitation during the period of the effective of the

contract. Therefore, the trial Court didn't support the argument

of USChina that the trial court didn't have jurisdiction over

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     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 47 of 60




this case. 2. Whether Skypeople is major qualified plaintiff of

this case. Two parties: Skypeople and USChina, had signed

contractors. Hongke Xue is the legal representative of

Skypeople, and paid 240,000 yuan for service fee to USChina from

his personal account. USChina also issued receipt to Skypeople.

Therefore, Skypeople acted as the major plaintiff was qualified.

3. Is that Skypeople suitable to claim from USChina the amount

of refund 240,000 yuan plus 240,000 interests? The condition for

refund by USChina is that she had fraud in execution of the

contract. From the term of the contract, USChina should find the

public listed shell company for Skypeople before September 8,

2006. Otherwise, USChina will suspend the contract under the

approval of Skypeople. From "Article 64, claimant has duty to

submit evidence" of "Civil Procedure of People's Republic of

China", Skypeople submitted two-emails of USChina Andrew Chien

and CEO of US Alliance as evidence that USChina couldn't find

the appropriate shell company for Skypeople, but the two emails

didn't have enough evidence to verify USChina could not find the

shell company, also Skypeople didn't submit any evidence that

USChina under approval of Skypeople, wanted to suspend the

contract. Therefore, the trial court didn't support that

Skypeople wanted USChina making refund of 240,000 yuan, plus

additional interests of 240,000 yuan. 4. Is this case past the

applicable statute of limitation? This case specified that

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     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 48 of 60




USChina before September 8, 2006, selected an appropriate public

listed shell company for Skypeople, otherwise it would refund

within three business days, which caused the effective sue day

was September 12, 2006. Skypeople on August 28, 2008, sued

USChina in the trial Court. On December 9, 2008, the trial Court

dismissed the complaint on the reason that Skypeople could not

supply the certified document that USChina was a legitimate

company, which suspended the statute of limitation. On December

7, 2010, Skypeople raised this case again in the trial court,

and claimed that this lawsuit was within the time limitation of

two years, which didn't violate the virtue of the applicable

statute of limitations. USChina and Anding Qian disputed the

case was raised beyond the applicable statute of limitations.

The trial court didn't support it by the law. 5. Whether did

Anding Qian bear joint and several liabilities? Based on the

fact that trial court didn't support Skypeople having

substantiated the evidence to claim USChina to refund the

service fee plus accruable interests, then there was no law to

ask Anding Qian to bear joint and several liabilities. The claim

can't stand. The Court didn't support it by the law.

    From the summary of above, Skypeople's claim can't stand by

law. Pursuant to Article 2 of "Provisions of the Supreme

People's Court on Evidence in Civil Procedure": "a party

concerned is responsible for providing evidence in support of

                                    6
     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 49 of 60




the fact on which the said party relies to assert a legal claim

or rebut the claim of opposite party. In the event that there is

no evidence or the evidence cannot sufficiently support

allegations of a party concerned, the party having the burden of

proof shall bear the ensuing adverse consequences", the trial

court rules as follows: The claim of Skepeople Fruit Juice Inc.,

is turned down. The case filing fee of 8,500 yuan shall be borne

by plaintiff Skypeople Fruit Juice Inc.

    After the judgment of the trial court, Skypeople made appeal

with claims: 1. The trial court errored in fact finding           that

from two e-mails submitted by Skypeople: one from USChina Andrew

Chien to President of US Alliance Company, and another from

President of US Alliance Company to Skypeople, it could not

substantiate that USChina could not find the appropriate shell

company for Skypeople within the specified period, then to deny

the claims of Skypeople. 2. The trial court applied wrong law by

citing Article 2 of Provisions of the Supreme People's Court on

Evidence in Civil Procedure. 3. The trial court errored in

finding fact of denial of the joint and several liabilities of

Anding Qian. Skypeople requested to rebuke the judgment of

(2011) Xi Min Si Chu Zi No.00025, and claimed that USChina

refund of 240,000 yuan with accrued interests of 240,000 yuan,

and Anding Qian having joined and several liabilities; and

defendants compensating plaintiff all expenses for filing of the

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     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 50 of 60




cases in both primary and appeal.

    Defendant Anding Qian replied that, the judgment of the

trial court is with clear facts, and correct of the applied law.

The defendant had neither any contract, nor written consent with

Plaintiff. There is no fact and law to consider that Anding Qian

has joint and several liabilities. The appeal would be denied by

affirming the original judgment.

    This court, after proceeding, fount that the fact verified

by the trial court, was true, and affirmed here. In the appeal

process, the representative of Skypeople announced that

Skypeople already became publicly listed in USA.

    This court considered that the trial court was correct on

the decision of the jurisdiction of this case, because Article

11 of the contract, signed on August 28, 2006, by Skypeople and

USChina, specified that "[t]his Contract shall be governed by

the relative laws of the People's Republic of China. The

formation of the Contract, its interpretation, application and

all disputes arising therefrom apply to the related laws of the

People's Republic of China". The above term, no violation of

regulations, will be valid.     Therefore, this case will apply

relative laws of China.

    Whether there is enough reason that Skypeople would get

refund of 240,000 and accrued interests of 240,000 from USChina.

In the "Service Contract for Public Listing" signed by Skypeople

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     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 51 of 60




and USChina, there was term that USChina will select an

appropriate shell company for Skypeople before September 8,

2006. In this case, USChina did not have the performance before

the deadline specified by the contract. Till the time when this

case was initiated, USChina still can't select an appropriate

shell company for Skypeople. Now, the plaintiff's complaint is

the issue that plaintiff unilaterally cancelled the contract.

The contract has term that "USChina will, before September 8,

2006, select an appropriate shell company for Skypeople going

public listing in USA, otherwise USChina, under approval of the

Skypeople, will suspend the contract, and refund the 240,000

from the account of Anding Qian." Now, USChina can't select the

appropriate shell company. Follow the term, USChina should

refund the 240,000 to Skypeople. It will not support to pay the

interests, because there is no term of paying the interests.

Therefore, Skypeople asked to refund 240,000 will be supported.

    Regarding the issue of whether Anding Qian should have joint

and several liabilities.     Because Anding Qian is not a party of

the contract, only in the Supplementary Agreement, it had the

term that Skypeople made the payment to the individual account

of Anding Qian. Anding Qian didn't have the specified power and

obligation. Therefore, there is no error of the issue of the

trial court.

    In Summary of above, the judgment of the trial court,

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     Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 52 of 60




having clear facts, but errored in applied laws, should be

adjusted. Following item 1, Code 2 of Article 170 of the Civil

Procedure of the People's Republic of China, order the

following:

    1. Rebuke the civil order of the Intermediate People Court

(2011) Xi Min Si Chu Zi No.00025.

    2. After ten days of the effective of this order, Appellee

USChina should refund 240,000 yuan to Skypeople.

    3. Dismiss other claims of Skepeople.

    If there is no payment within the specified time, USChina

should pay in double interests of the debt, due to Article 253

of the Civil Procedure of the People's Republic of China.

    The case application fees of 8,500 yuan for the trial court,

and 4,900 yuan for this court, should be compensated by USChina.

    This is the final judgment.

                          Presiding Judge: Hui Hui Tong

                                        Judge: Xiaomin Song

                                        Judge: Baotang Chang

                                          March 23, 2015

                              SEAL: Shaanxi Supreme People's Court

                                     Clerk:    Zhiyong, Tang



 (Note: Translated by Andrew Chien on 7/10/2017.         tz   C4~e~)



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 Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 53 of 60




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         ~;fr~~%- ~ ~Wr~it*o l1~~Jf~ 8500 Jt, ~ ~1§-~A

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         JJ ~A 0      ~ ~ 1# !{ ~ ~\ ~ i~ :if4~      t- .bt !k 00 Alliance -0- ~ ffi. 1!:
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Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 58 of 60



A ~ tt -T lb~ 14=-1£ iiE ~ a:f ~ ~             *1t #J :h !t   ti~ :I!~ :1! J:. $ ~ ~
~~, ~~~~~~~~~~~hl~~~~~*~~A~~
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*~<*f~*w~~•~*fM~>»-=*~~~, ~
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-~·~~m~~A~#~OO*~"o ~1:.~~*~&*~
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 Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 59 of 60



~~, m~~~o ~*~S~JfJ~$A~#~OO~~o
      7C A~ ~ .i. *~ ~ 0 aJ l!hX 24 7J lt #- ;f\ tf!.{U ,~,                   24   7J it
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~*~~, S~f~#o ~~, ~A0~~*~~24Hft
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*•«~~A~#~OO~$W~*»J-W~+*--~
 ( -=- ) :rJt z~Jt,         ~~ :9c~P "F:

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Case 3:17-cv-01654-CSH Document 8 Filed 09/29/17 Page 60 of 60




  00025% ~-*~lA;
       ~'*~~~~$ toa~~LWA~~~*~~~*
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